            Case 22-33553 Document 912 Filed in TXSB on 11/16/24 Page 1 of 9
                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS


In Re: Alexander E. Jones and Official Committee                  Case No.: 22−33553
       Of Unsecured Creditors
       Debtor                                                     Chapter: 7


                           NOTICE OF FILING OF OFFICIAL TRANSCRIPT

An official transcript has been filed in this case and it may contain information protected under the
E-Government Act of 2002, and Fed. R. Bank. P. 9037.

Transcripts will be electronically available on PACER to the public 90 days after their filing with the court.
To comply with privacy requirements of Fed. R. Bank. P. 9037, the parties must ensure that certain protected
information is redacted from transcripts prior to their availability on PACER.

If redaction is necessary, the parties must file a statement of redaction listing the items to be redacted, citing
the transcript's docket number, the item's location by page and line, and including only the following portions
of the protected information. This statement must be filed within 21 days of the transcript being filed. A
suggested form for the statement of redaction is available at https://www.txs.uscourts.gov/.

      • the last four digits of the social security number or taxpayer identification number;
      • the year of the individual's birth;
      • the minor's initials;
      • the last four digits of the financial account number; and
      • the city and state of the home address.

Any additional redaction requires a separate motion and Court approval.

A party may review the transcript at the Clerk's Office public terminals or purchase it by following the
instruction on our website at https://www.txs.uscourts.gov/ or by calling (713) 250−5500 . A party is only
responsible for reviewing the:
      • opening and closing statements made on the party's behalf;
      • statements of the party;
      • testimony of any witness called by the party; and
      • any other portion of the transcript as ordered by the court.
Redaction is your responsibility. The Clerk, court reporter, or transcriber will not review this transcript for
compliance.

                                                                  Nathan Ochsner
                                                                  Clerk of Court
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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 7
Official Committee Of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 8
Date Rcvd: Nov 14, 2024                                               Form ID: ntctran                                                          Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 16, 2024:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
aty                    +   Anna Kordas, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-1000, UNITED STATES 10036-6730
aty                    +   Crowe & Dunlevy, 2525 McKinnon St, Suite 425, Dallas, TX 75201-1543
aty                    +   David Franklin Hill, IV, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Jonathan Day, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Jones Murray LLP, 602 Sawyer Suite 400, Houston, Tx 77007-7510
aty                    +   Leslie E. Liberman, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Martin, Disiere, Jefferson & Wisdom, LLP, 808 Travis, Suite 1100, Houston, TX 77002-5831
aty                    +   Paul Andrew Paterson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Reynal Law Firm, P.C., 917 Franklin St., Suite 600, Houston, TX 77002-1764
aty                    +   Richard A. Cochrane, Caldwell Cassady Curry PC, 2121 N. Pearl St., Ste. 1200, Dallas, TX 75201-2494
aty                    +   Theodore James Salwen, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Vida Robinson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
fa                     +   BlackBriar Advisors LLC, 3131 McKinney Ave., Suite 600, Dallas, TX 75204-2456
cr                     +   Elevated Solutions Group, LLC, c/o Walker & Patterson, P.C., P.O. Box 61301, Houston, TX 77208-1301
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                     +   Reeves Law, PLLC, 702 Rio Grande St., Suite 203, Austin, TX 78701-2720
cr                     +   Security Bank of Texas, P.O. Box 90, Crawford, Tx 76638-0090

TOTAL: 18

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        Nov 14 2024 20:25:49      Ally Bank, c/o Quilling, Selander, et al, 2001
                                                                                                                  Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Nov 14 2024 20:31:27      Ally Bank, c/o AIS Portfolio Services, LLC, 4515
                                                                                                                  N Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
cr                         Email/PDF: bncnotices@becket-lee.com
                                                                                        Nov 14 2024 20:31:29      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern, PA 19355-0701
cr                         Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Nov 14 2024 20:24:00      Bank of America N.A., P.O. BOX 31785, Tampa,
                                                                                                                  FL 33631-3785
cr                     + Email/Text: notifications@cstrial.com
                                                                                        Nov 14 2024 20:26:00      Erica L. Ash, c/o Cain & Skarnulis PLLC, 303
                                                                                                                  Colorado Street, Suite 2850, Austin, TX 78701,
                                                                                                                  UNITED STATES 78701-0137
cr                     + Email/Text: notifications@cstrial.com
                                                                                        Nov 14 2024 20:26:00      Francine Wheeler, Cain & Skarnulis PLLC, Ryan
                                                                                                                  E. Chapple, 303 Colorado Street, Suite 2850,
                                                                                                                  Austin, TX 78701-0137
crcm                   + Email/Text: mbrimmage@akingump.com
                    Case 22-33553 Document 912 Filed in TXSB on 11/16/24 Page 3 of 9
District/off: 0541-4                                               User: ADIuser                                                          Page 2 of 8
Date Rcvd: Nov 14, 2024                                            Form ID: ntctran                                                     Total Noticed: 28
                                                                                   Nov 14 2024 20:26:00     Official Committee Of Unsecured Creditors, c/o
                                                                                                            Marty L. Brimmage, Jr., Akin Gump Strauss
                                                                                                            Hauer & Feld LLP, 2300 N. Field Street, Suite
                                                                                                            1800, Dallas, TX 75201-4675
cr                    + Email/Text: lemaster@slollp.com
                                                                                   Nov 14 2024 20:25:00     PQPR Holdings Limited, LLC, c/o Streusand
                                                                                                            Landon Ozburn & Lemmon LLP, attn: Stephen
                                                                                                            Lemmon, 1801 S. Mopac Expressway, Suite 320,
                                                                                                            Austin, TX 78746-9817
cr                    + Email/Text: notifications@cstrial.com
                                                                                   Nov 14 2024 20:26:00     Richard M. Coan, c/o Cain & Skarnulis PLLC, 303
                                                                                                            Colorado Street, Suite 2850, Austin, TX
                                                                                                            78701-0137
cr                    + Email/Text: BKECF@traviscountytx.gov
                                                                                   Nov 14 2024 20:25:00     Travis County, c/o Jason A. Starks, P.O. Box
                                                                                                            1748, Austin, TX 78767-1748

TOTAL: 10


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty                           Akin Gump Strauss Hauer & Feld LLP
cr                            Carlee Soto Parisi
cr                            Carlos M Soto
intp                          David Ross Jones
cr                            David Wheeler
cr                            Donna Soto
intp                          First United American Companies, LLC
cr                            Ian Hockley
cr                            Jacqueline Barden
cr                            Jennifer Hensel
cr                            Jillian Soto-Marino
cr                            Mark Barden
cr                            Nicole Hockley
cr                            Public Storage
op                            Rachel Kennerly LLC
cr                            Robert Parker
cr                            William Aldenberg
cr                            William Sherlach
intp                          X Corp.
cr              ##+           Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston,
                              TX 77002-6774

TOTAL: 19 Undeliverable, 0 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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District/off: 0541-4                                             User: ADIuser                                                          Page 3 of 8
Date Rcvd: Nov 14, 2024                                          Form ID: ntctran                                                     Total Noticed: 28

Date: Nov 16, 2024                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 8, 2024 at the address(es) listed
below:
Name                            Email Address
Annie E Catmull
                                on behalf of Creditor Free Speech Systems LLC aecatmull@o-w-law.com, aecatmull@ecf.courtdrive.com,llumtacae@gmail.com

Avi Moshenberg
                                on behalf of Plaintiff Leonard Pozner avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
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Avi Moshenberg
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Avi Moshenberg
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                                kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net

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Ha Minh Nguyen
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Jacqueline Chiba
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District/off: 0541-4                                         User: ADIuser                                                     Page 4 of 8
Date Rcvd: Nov 14, 2024                                      Form ID: ntctran                                                Total Noticed: 28
Jarrod B. Martin
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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
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                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jason Starks
                            on behalf of Creditor Travis County bkecf@traviscountytx.gov

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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
                            on behalf of Creditor Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Scarlett Lewis jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Neil Heslin jhardy2@willkie.com mao@willkie.com

John D Malone
                            on behalf of Creditor Security Bank of Texas myra@johnmalonepc.com myra@johnmalonepc.com

Johnie J Patterson
                      Case 22-33553 Document 912 Filed in TXSB on 11/16/24 Page 6 of 9
District/off: 0541-4                                        User: ADIuser                                                        Page 5 of 8
Date Rcvd: Nov 14, 2024                                     Form ID: ntctran                                                   Total Noticed: 28
                            on behalf of Creditor Elevated Solutions Group LLC
                            wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

Joshua W. Wolfshohl
                            on behalf of Trustee Christopher R Murray jwolfshohl@porterhedges.com
                            egarfias@porterhedges.com;ysanders@porterhedges.com;eliana-garfias-8561@ecf.pacerpro.com

Marty L Brimmage
                            on behalf of Creditor Marcel Fontaine mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Leonard Pozner mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor Jacqueline Barden mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor Robert Parker mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor Ian Hockley mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Committee Official Committee Of Unsecured Creditors mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Committee Official Committee of Unsecured Creditors of Alexander E. Jones mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor William Sherlach mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Jillian Soto-Marino mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Francine Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
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                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Scarlett Lewis mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Veronique De La Rosa mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com
                     Case 22-33553 Document 912 Filed in TXSB on 11/16/24 Page 7 of 9
District/off: 0541-4                                          User: ADIuser                                                             Page 6 of 8
Date Rcvd: Nov 14, 2024                                       Form ID: ntctran                                                        Total Noticed: 28
Marty L Brimmage
                            on behalf of Creditor David Wheeler mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor Neil Heslin mbrimmage@akingump.com
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                            on behalf of Creditor Committee Official Committee Of Unsecured Creditors melanie.miller@akingump.com

Melissa A Haselden
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                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;mhaselden@ecf.courtdrive.com;haselden.melissaa.r104367@
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Nicholas Lawson
                            on behalf of Creditor Leonard Pozner nick.lawson@lmbusinesslaw.com kate.taylor@lmbusinesslaw.com

Nicholas Lawson
                            on behalf of Creditor Neil Heslin nick.lawson@lmbusinesslaw.com kate.taylor@lmbusinesslaw.com

Nicholas Lawson
                            on behalf of Creditor Marcel Fontaine nick.lawson@lmbusinesslaw.com kate.taylor@lmbusinesslaw.com

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                            on behalf of Creditor Veronique De La Rosa nick.lawson@lmbusinesslaw.com kate.taylor@lmbusinesslaw.com

Nicholas Lawson
                            on behalf of Creditor Scarlett Lewis nick.lawson@lmbusinesslaw.com kate.taylor@lmbusinesslaw.com

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Ryan E Chapple
                            on behalf of Creditor Erica L. Ash rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
                            on behalf of Plaintiff Jillian Soto Marino rchapple@cstrial.com notifications@cstrial.com;corozco@cstrial.com

Ryan E Chapple
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District/off: 0541-4                                        User: ADIuser                                                               Page 7 of 8
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